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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
                                       )
     v.                                )      CASE NO. 2:18-MC-3841-WKW
                                       )
GWENDOLYN DAVIS SALERY,                )
                                       )
           Defendant,                  )
                                       )
KIRRO ALABAMA, LLC,                    )
                                       )
           Garnishee.                  )

                                 ORDER

     Upon consideration of the United States’s Motion to Dismiss Garnishment

(Doc. # 14), it is ORDERED that the motion is GRANTED and that the Writ of

Garnishment (Doc. # 2) is DISMISSED.

     DONE this 2nd day of August, 2019.

                                                 /s/ W. Keith Watkins
                                           UNITED STATES DISTRICT JUDGE
